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                                                             SUMMARY OF MAILINGS AND WIRES MADE BY SANDRA OLSON

DATE                                                                                                                                                            CASH/
            NAME OF                                    SANDRA OLSON                                                                                                                 SHIP        SHIP
(on or                           ADDRESS                                    AMOUNT                   BATES                         COMMENT                     CHECK/                                    OTHER BATES NO
           RECIPIENT                                       BANK                                                                                                                     COST       METHOD
about)                                                                                                                                                         PHONE
                                                                                                Bank Stmnt: BEP_4           $10,600 Cashier's Check to Jane
03/22/18   Jane Therault                               Bank of EP Savings   $   10,606.00                                                                     cashier's check
                                                                                             Bank Support: BEP_8 (CC)              Therault. $6 Fee.
                                                                                                                                                                                                        Name & Address of Olson &
                            4370 Wimbleton Dr Apt 8,
03/26/18   Sandra Pitcher                                 Safeway/cash      $    1,960.00              WU_2                                                   Western Union                                  Pitcher: WU_2
                              Grandville MI 49418
                                                                                                                                                                                                        Name & Address of Olson &
                            4370 Wimbleton Dr Apt 8,
03/27/18   Sandra Pitcher                                 Safeway/cash      $    1,999.20              WU_2                                                   Western Union                                  Pitcher: WU_2
                              Grandville MI 49418
                                                                                                      WU_2                                                                                              Name & Address of Olson &
                            4370 Wimbleton Dr Apt 8,
03/27/18   Sandra Pitcher                                 Safeway/cash      $    1,960.00   Bank Support: FLG_9 (Pitcher                                      Western Union                                  Pitcher: WU_2
                              Grandville MI 49418
                                                                                                  check to Luton)
                                                                                                Bank Stmnt: BEP_4
                                                                                          Bank Support: BEP_9 (CC/Cash) $5,000 Cashier's Check to Sandra
                            4370 Wimbleton Dr Apt 8,                                                                                                                                                    Name, Address, & Ship Cost:
03/27/18   Sandra Pitcher                                  Bank of EP       $    5,000.00                                  Pitcher. $6 Fee. $3,006 w'l.            cash         $      15.90     UPS
                              Grandville MI 49418                                                                                                                                                              INV_1955
                                                                                           Bank Support: FLG_9 (Pitcher          $2,000 Cash in.
                                                                                                  check to Luton)
                                                                                            Bank Support: INV_1760-1761;
                                                                                                Bank Stmnt: BEP_44
                            4370 Wimbleton Dr Apt 8,
03/29/18   Sandra Pitcher                                  Bank of EP       $    9,095.75 Bank Stmnt: HNB_120 (Pitcher                COUNT 2                 cashier's check
                              Grandville MI 49418
                                                                                                      Acct)
                                                                                          Bank Support: HNB_9 (Pitcher
                                                                                                      Acct)
                                                                                             Bank Stmnt: PMCU_23
                                                                                            Bank Support: PMCU_119
                            4368 Wimbleton Dr Apt 8,
04/02/18   Sandra Pitcher                              Premier Members CU   $   28,002.00    Bank Stmnt: FLG_16 (Pitcher                                          check                          UPS        Address: INV_1694
                              Grandville MI 49418
                                                                                                        Acct)
                                                                                            Bank Support: FLG_10 (Pitcher
                                                                                                        Acct)
                                                                                               Bank Stmnt: PMCU_23
                                                                                              Bank Support: PMCU_120
                                                                                                                                     COUNT 3
                            4369 Wimbleton Dr Apt 8,
04/03/18   Sandra Pitcher                              Premier Members CU   $    9,097.75      Bank Stmnt: HNB_120           $9,095.75 check disbursed to     cashier's check
                              Grandville MI 49418
                                                                                                    (Pitcher Acct)              Sandra Pitcher. $2 fee
                                                                                            Bank Support: HNB_10 (Check,
                                                                                                    Pitcher Acct)
                                                                                               Bank Stmnt: PMCU_23
                                                                                              Bank Support: PMCU_111
                            4370 Wimbleton Dr Apt 8,                                                                          $20,000 check disbursed to
04/10/18   Sandra Pitcher                              Premier Members CU   $   20,000.00    Bank Stmnt: FLG_16 (Pitcher                                          check                          UPS        Address: INV_1694
                              Grandville MI 49418                                                                                   Sandra Pitcher
                                                                                                        Acct)
                                                                                            Bank Support: FLG_11 (Pitcher
                                                                                                        Acct)
                                                                                                                                                                                                                             GOVERNMENT
                                                                                                                                                                                                                               EXHIBIT

                                                                                                                1                                             ATTACHMENT A                                                       128
                                                                                                                                                                                                                           19-cr-00098-CMA-01
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DATE                                                                                                                                                                         CASH/
              NAME OF                                               SANDRA OLSON                                                                                                                 SHIP        SHIP
(on or                                     ADDRESS                                       AMOUNT                   BATES                        COMMENT                      CHECK/                                    OTHER BATES NO
             RECIPIENT                                                  BANK                                                                                                                     COST       METHOD
about)                                                                                                                                                                      PHONE
                                                                                                          Bank Stmnt: PMCU_24 & 30
                                                                                                                  (Reverse)
                                                                                                                                          $45,000 check disbursed to
                                      4371 Wimbleton Dr Apt 8,                                             Bank Support: PMCU_122                                          Cashier's Check
04/16/18      Sandra Pitcher                                        Premier Members CU   $   45,002.00                                      Sandra Pitcher. $2 fee                                            UPS        Address: INV_1694
                                        Grandville MI 49418                                                                                                                (Returned 5/30)
                                                                                                                                               05/30 Reversed
                                                                                                         Bank Support: ONB_6 (Pitcher
                                                                                                               Acct withdrawal)
                                                                                                             Bank Stmnt: BEP_12
                                                                                                                                                 COUNT 4
                                                                                                            Bank Support: BEP_16
                                                                                                                                          BEP_16 (04/16) $45,000
                                                                                                                                                                           Cashier's Check
                                      4371 Wimbleton Dr Apt 8,                                                                            Cashier's Check to Sandra
04/16/18      Sandra Pitcher                                        Bank of EP Savings   $   45,006.00   Bank Stmnt: GRB_11 (Pitcher                                        (returned 5/3
                                        Grandville MI 49418                                                                                   Pitcher. $6 Fee.
                                                                                                                     Acct)                                                    $45,000)
                                                                                                                                        BEP_17 (05/03) Returned from
                                                                                                          Bank Support: GRB_12-13
                                                                                                                                             Grand River Bank
                                                                                                                (Pitcher Acct)
                                   854 N Tacoma Apt C, Allentown,                                                                                                                                                    Name, Address & Ship Cost:
05/23/18      John Anderson                                                              $   10,000.00                                                                          cash         $      49.19     UPS
                                             PA 18109                                                                                                                                                                       INV_1950
                                    35 N 14th St Apt 9,Allentown,                                                                                                                                                    Name, Address & Ship Cost:
05/24/18       Paul Wither                                                               $   10,000.00                                                                          cash         $      49.19     UPS
                                             PA 18102                                                                                                                                                                       INV_1951
                                                                                                            Bank Stmnt: BEP_53
05/29/18                                                                Bank of EP       $    9,000.00                                                                          cash
                                                                                                         Bank Support: BEP_55 (Cash)
                                                                                                           Bank Stmnt: PMCU_30
                                   172-42 Brocher Rd, Jamaica, NY
05/29/18      John Anderson                                         Premier Members CU   $    9,000.00    Bank Support: PMCU_125                                                cash                         FedEx   Name & Address: INV_1580
                                               11434
                                                                                                                   (Cash)
                                                                                                           Bank Stmnt: PMCU_30
                                   172-42 Brocher Rd, Jamaica, NY
05/30/18      John Anderson                                         Premier Members CU   $   10,000.00    Bank Support: PMCU_126                                                cash                         FedEx   Name & Address: INV_1586
                                               11434
                                                                                                                   (Cash)
                                                                                                            Bank Stmnt: PMCU_34
                                   172-42 Brocher Rd, Jamaica, NY                                         Bank Support: PMCU_127
06/04/18      John Anderson                                         Premier Members CU   $   15,000.00                                                                          cash                         FedEx   Name & Address: INV_1581
                                               11434                                                                (Cash)
                                                                                                         Cash Receipt Form: PMCU_70
                                                                                                             Bank Stmnt: BCO_62
           Nicoli Miller/ Sandra                                                                                                          $15,000 Cashier's Check to
06/05/18                                Pomepano Beach, FL              Bank of CO       $   15,000.00    Bank Support: BCO 64 & 65                                        cashier's check
                  Pitcher                                                                                                                       Nicoli Miller
                                                                                                                    (CC)
                                                                                                             Bank Stmnt: BCO_33
                                                                                                          Bank Support: BCO_35 & 36
                                                                                                                    (CC)                $15,000 Cashier's Check to Ashli
06/05/18       Ashli Jarret             Pampano Beach, FL               Bank of CO       $   15,000.00                                                                     cashier's check
                                                                                                                                                    Jarrett
                                                                                                         Bank Support: BOA_449 (Luton
                                                                                                                     Acct)
                                                                                                             Bank Stmnt: BCO_62
                                                                                                         Bank Support: BCO_64 (Cash)
                                   172-42 Brocher Rd, Jamaica, NY                                                                                                                                                    Name, Address, & Ship Cost:
06/07/18      John Anderson                                             Bank of CO       $    5,000.00                                                                          cash         $      49.30     UPS
                                               11434                                                                                                                                                                        INV_1944
                                                                                                          Bank Support: BOA_450-451
                                                                                                                 (Luton Acct)
                                   172-42 Brocher Rd, Jamaica, NY                                           Bank Stmnt: BCO_33                                                                                       Name, Address, & Ship Cost:
06/07/18      John Anderson                                             Bank of CO       $    4,000.00                                                                          cash                          UPS
                                               11434                                                     Bank Support: BCO_35 (Cash)                                                                                        INV_1944
                                   172-42 Brocher Rd, Jamaica, NY                                                                                                                                                    Name, Address, & Ship Cost:
06/07/18      John Anderson                                                              $    6,000.00                                                                          cash                          UPS
                                               11434                                                                                                                                                                        INV_1944


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DATE                                                                                                                                                                   CASH/
             NAME OF                                            SANDRA OLSON                                                                                                                SHIP        SHIP
(on or                                 ADDRESS                                       AMOUNT                  BATES                       COMMENT                      CHECK/                                    OTHER BATES NO
            RECIPIENT                                               BANK                                                                                                                    COST       METHOD
about)                                                                                                                                                                PHONE
                                                                                                        Bank Stmnt: BCO_26
                               132 School Street, Manchester,                                                                       $25,000 Cashier's Check to
07/06/18   Whittas Trucking                                         Bank of CO       $   25,000.00   Bank Support: BCO_28 & 30                                       cashier's check                    FedEx   Name & Address: INV_1582
                                        CT 06040                                                                                         Wittas Trucking
                                                                                                                (CC)
                                                                                                        Bank Stmnt: BCO_26
                                736 Anna Laurel Rd, Early                                                                           $25,000 Cashier's Check to
07/06/18    Barbara Nations                                         Bank of CO       $   25,000.00   Bank Support: BCO_28 & 29                                       cashier's check                    FedEx   Name & Address: INV_1584
                                    Branch SC 29916                                                                                      Barbara Nations
                                                                                                                (CC)
                                                                                                       Bank Stmnt: PMCU_38
                              172-42 Brocher Rd, Jamaica, NY
07/09/18     Frank White                                        Premier Members CU   $    4,000.00    Bank Support: PMCU_130                                              cash                          FedEx   Name & Address: INV_1585
                                          11434
                                                                                                               (Cash)
                                                                                                        Bank Stmnt: BEP_22       $15,000 Cashier's Check to Tracy
07/16/18   Tracy Ann McLean                                         Bank of EP       $   15,006.00                                                                   cashier's check                     UPS       Address: INV_1694
                                                                                                     Bank Support: BEP_26 (CC)         Ann Mclean. $6 Fee
                                                                                                       Bank Stmnt: PMCU_38
                                                                                                                                 $15,000 check disbursed receipt
07/16/18   Tracy Ann McLean                                     Premier Members CU   $   15,002.00    Bank Support: PMCU_131                                             check
                                                                                                                                  to Tracy Ann McLean. $2 fee
                                                                                                              (Check)
                               132 School Street, Manchester,
07/17/18     Frank White                                            credit card      $    2,307.00                                                                  2 Verizon iPhones                    UPS       Address: INV_1694
                                        CT 06040
                                                                                                   Bank Stmnt: BCO_22 ($30,000
                               132 School Street, Manchester,
07/23/18    Lloyd Wessom                                            Bank of CO       $   15,000.00    check split into two CC)                                       cashier's check                     UPS       Address: INV_1694
                                        CT 06040
                                                                                                    Bank Support: BCO 71-72
                                                                                                   Bank Stmnt: BCO_22 ($30,000
                               132 School Street, Manchester,
07/23/18    Lloyd Wessom                                            Bank of CO       $   15,000.00    check split into two CC)                                       cashier's check                     UPS       Address: INV_1694
                                        CT 06040
                                                                                                    Bank Support: BCO 71-72
                              172-42 Brocher Rd, Jamaica, NY                                           Bank Stmnt: BEP_67
07/27/18     Frank White                                            Bank of EP       $   20,000.00                                         COUNT 5                        cash                           UPS       Address: INV_1694
                                          11434                                                    Bank Support: BEP_69 (Cash)
                               911 Grade Ln, Louisville, KY
08/06/18   Daniel McFarlane                                                          $   30,000.00                                                                        cash          $      83.69     UPS       Address: INV_1694
                                          40213
                              172-42 Brocher Rd, Jamaica, NY                                                                                                                                                    Name & Address: FEDX_15
08/10/18     Frank White                                                             $   10,000.00                                                                        cash                          FedEx
                                          11434
                              172-42 Brocher Rd, Jamaica, NY                                           Bank Stmnt: PMCU_43
08/20/18     Frank White                                        Premier Members CU   $   15,100.00                                                                        cash                          FedEx   Name & Address: FEDX_14
                                          11434                                                      Bank Support: PMCU_71-72
                              172-42 Brocher Rd, Jamaica, NY
08/22/18     Frank White                                                             $   15,000.00                                                                        cash                          FedEx   Name & Address: FEDX_13
                                          11434
                                                                                                       Bank Stmnt: PMCU_43
                              172-42 Brocher Rd, Jamaica, NY
08/29/18     Frank White                                        Premier Members CU   $   14,000.00    Bank Support: PMCU_134                                              cash                          FedEx   Name & Address: FEDX_12
                                          11434
                                                                                                        (Cash); PMCU 73-74
                                                                                                       Bank Stmnt: PMCU_43
                              172-42 Brocher Rd, Jamaica, NY
08/31/18     Frank White                                        Premier Members CU   $    6,000.00    Bank Support: PMCU_135                                              cash
                                          11434
                                                                                                                (Cash)
                              172-42 Brocher Rd, Jamaica, NY
08/31/18     Frank White                                                             $   15,000.00                                                                        cash                          FedEx   Name & Address: FEDX_11
                                           11434
                              172-42 Brocher Rd, Jamaica, NY
09/04/18     Frank White                                                             $   10,000.00                                                                        cash                          FedEx   Name & Address: FEDX_10
                                           11434
                               204 Fifth Ave., Toms River NJ
09/06/18      Mark White                                            Bank of CO       $    5,000.00      Bank Stmnt: BCO_53                 COUNT 6                        cash                          FedEx   Name & Address: FEDX_9
                                           08757
                                                                                                      Bank Stmnt: PMCU_48
                               204 Fifth Ave., Toms River NJ
09/06/18      Mark White                                        Premier Members CU   $   10,000.00  Bank Support: PMCU_136                 COUNT 6                        cash                          FedEx   Name & Address: FEDX_9
                                           08757
                                                                                                              (Cash)
                               204 Fifth Ave., Toms River NJ                                           Bank Stmnt: BCO_15
09/25/18    John Anderson                                           Bank of CO       $   20,000.00                                         COUNT 7                        cash                          FedEx   Name & Address: FEDX_8
                                           08757                                                   Bank Support: BCO_17 (Cash)



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DATE                                                                                                                                                            CASH/
            NAME OF                                        SANDRA OLSON                                                                                                              SHIP        SHIP
(on or                            ADDRESS                                       AMOUNT                    BATES                     COMMENT                    CHECK/                                            OTHER BATES NO
           RECIPIENT                                           BANK                                                                                                                  COST       METHOD
about)                                                                                                                                                         PHONE
                                                                                                   Bank Stmnt: PMCU_52
                           4298 Oneida Ave., Bronx, NY                                                                                                                                                           Name, Address & Ship Cost:
10/01/18   Nadine Willis                                   Premier Members CU   $    20,000.00    Bank Support: PMCU_139                                          cash           $      18.15       UPS
                                     10470                                                                                                                                                                              INV_1948
                                                                                                          (Cash)
                           450 Chaplin Ln, Estes Park CO
10/02/18    Frank White                                                         $    65,000.00                                                                    cash                          hand-delivered
                                       80517
                           204 Fifth Ave., Toms River NJ
10/11/18   John Anderson                                                        $    10,000.00                                                                    cash                             FedEx         Name & Address: FEDX_6
                                       08757
                           204 Fifth Ave., Toms River NJ                                             Bank Stmnt: BCO_50
10/11/18   John Anderson                                       Bank of CO       $     5,000.00                                                                    cash
                                       08757                                                     Bank Support: BCO_52 (Cash)
                                                                                                    Bank Stmnt: PMCU_52
10/19/18                                                   Premier Members CU   $    25,000.00    Bank Support: PMCU_141                                          cash
                                                                                                             (Cash)
                             1307 Pacific St., Apt 6D,                                            Purchase receipt: INV_1215
10/22/18   John Anderson                                       credit card      $     2,718.94                                        COUNT 8               2 iPhone XS phones                     FedEx         Name & Address: FEDX_4
                               Brooklyn, NY 11216                                                   Credit card: INV_1256
                                                                                                    Bank Stmnt: PMCU_52
10/26/18                                                   Premier Members CU   $    34,144.00    Bank Support: PMCU_110                                          cash
                                                                                                     (Cash); PMCU 79-80
                                                                                                    Bank Stmnt: PMCU_52
                                                                                                                               $10,000 check disbursed to
10/26/18                                                   Premier Members CU   $    10,000.00    Bank Support: PMCU_110                                          check
                                                                                                                                     Sandra Olson
                                                                                                            (Check)
                              1307 Pacific St., Apt 6,                                            Purchase receipt: INV_1216
10/30/18   John Anderson                                       credit card      $     2,718.94                                        COUNT 9               2 iPhone XS phones                     FedEx         Name & Address: FEDX_2
                               Brooklyn, NY 11216                                                   Credit card: INV_1674
                           204 Fifth Ave., Toms River NJ
11/05/18   John Anderson                                                        $    15,000.00                                                                    cash                              UPS             Address: INV_1694
                                       08757
                           443 Tompkins Ave., Brooklyn,
11/07/18    Tom White                                                           $    15,000.00                                        COUNT 10                    cash                              UPS             Address: INV_1694
                                     NY 11216
                                                                                                                                                                TOTAL
                                                                TOTAL           $   776,725.58                                                                                   $     265.42
                                                                                                                                                               SHIPPING




                                                                                                                    4                                       ATTACHMENT A
